                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                        CIVIL ACTION NO. 4: 19-cv- 1 1093TSH


 PAUL JONES,
      Plaintiff
                                                         MEMORANDUM OF LAW IN
                                                         SUPPORT OF DEFENDANTS
                                                         MONTACHUSETT REGIONAL
 MONTACHUSETT REGIONAL TRANSIT
                                                         TRANSIT AUTHORITY, REBECCA
 AUTHORITY, HB SOFTWARE
                                                         BADGLEY, DONNA LANDRY,
 SOLUTIONS, INC, REBECCA BADGLEY,
                                                         BONNIE MAHONEY, KAREN
 DONNA LANDRY, BONNIE MAHONEY,
                                                         CORDIO, JOANNE NORRIS,
 KAREN CORDIO, JOANNE NORRIS,
                                                         STEPHANIE RICHARDS, TAMARA
 STEPHANIE RICHARDS, TAMARA
                                                         SHUMOV SKAYA, JES SICA TORRES,
 SHUMOVSKAYA, JESSICA TORRES,
                                                         AMANDA KUKTA, ROBERT MONK,
 AMANDA KUKTA, ROBERT MONK,                              MICHELLE MOYO, IVAN ROMAN
 MICHELLE MOYO, IVAN ROMAN,
                                                         and CRYSTAL GEISERT'S MOTION
 CRYSTAL GEISERT, JANE DOE ANd JOHN
                                                         TO DISMISS
 DOE,
         Defendants



I.      INTRODUCTION

        Defendant Montachusett Regional Transportation Authority ("MART") is a regional

transportation authority established pursuant to G.L. c. 1618. It provides public transportation to

22 cities and towns in north central Massachusetts. Through its Dial-A-Mart Service, MART

provides transportation that serves the needs of either human services agencies or target

populations through eligible agency sponsored trips. MART also provides transportation

through its operating company for the Commonwealth's Human Service Transportation Division

of the Executive Office of Health and Human Services ("EOHHS"). MART provides many

routes for the Department of Developmental Services ("DDS") as well as individual MassHealth

client rides on an as needed basis.




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       Plaintiff, Paul Jones ("Plaintiff') is the Director and is an employee of Commonwealth

Community Recovery Division, Inc. ("CCRD"). CCRD has a contract with MART to provide

transportation services for MART's operating company, providing services to the EOHHS. In

his Verified Amended Complaint ("Complaint"), Plaintiff alleges that Defendants MART'

Rebecca Badgley, Donna Landry, Bonnie Mahoney, Karen Cordio, Joanne Norris, Stephanie

Richards, Tamarushumovskaya, Jessica Torres, Amanda Kukta, Robert Monk, Michelle Moyo,

Ivan Roman, and Crystal Geisert, all either current or former MART employees (collectively

"MART Defendants") violated the Telephone Consumer Practices Act, 47 U.S.C., ç 227

("TCPA") by calling his cellphone many times using an automatic telephone dialing system

(Counts I and   II). In addition, Plaintiff   alleges that the   MART discriminated against him on the

basis of his race and/or membership in another protected class, in violation of Title VI (Count

VII), Title VII of the Civil Rights Act of     1964 (Counts      III, V,   and   VI), and G.L, c. 151B (Count

VIII), Finally, Plaintiff brings a claim for intentional infliction of emotional distress         against the


individual MART Defendants.

        The MART Defendants now move this honorable Court to dismiss all of Plaintiff                  s


claims against them. As grounds therefore, the MART Defendants state that because Plaintiff is

admittedly not an employee of MART, but rather is an employee of a MART vendor CCRD,

Plaintiff lacks standing to bring a claim under Title VII of the Civil Rights Act of 1964, 42

U.S,C. g 2000e et al. ("Title VII") or G.L. c. 1518 ("Chapter 151B") which both prohibit

discrimination in employment. Plaintiff s complaint of violation of Title VI of the Civil Rights

Act of 1964 42U.S,C. $ 2000d-3 ("Title VI") similarly fails because even if MART received

federal assistance for the services being provided by Plaintiff s employer CCRD, which MART




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denies,   Plaintiff is not the intended beneficiary of the federal assistance provided and therefore

has no standing to bring a claim for the violation of Title   VI.

          In addition, Plaintifls claims of violation of the TCPA must be dismissed because the

telephone calls of which Plaintiff complains are not the type protected under the TCPA and were

made to Plaintiff not as a consumer, but in his role as the dispatcher/manager and employee of a

MART vendor, CCRD.

          Further, Plaintiffls claim for intentional infliction of emotional distress against MART

must be dismissed because MART is a public employer and is therefore exempt from such

claims pursuant to the Massachusetts Tort Claims Act, G.L. c. 258, $ 10(c). Finally Plaintifls

claims for the intentional infliction of emotional distress against the individual MART

Defendants must be dismissed because the behavior alleged, even        if all true, is not so extreme,

outrageous and beyond the bounds of human decency as to support such a claim, Rather, what

the numerous exhibits attached to Plaintiff s Complaint show is that the individual MART

Defendants in the scope of their employment with MART attempted as best they could to

respond to Plaintiff s numerous inquiries and to assist him with his questions about and use of

the MART vendor portal. Albeit at times mistakes were made, but such mistakes were not and

are not so extreme and outrageous and beyond the bounds of human decency to support a claim

for intentional infliction of emotional distress against them'

II.       FACTUAL ALLEGATIONS

          1.      Plaintiff is an African American resident of Stoughton, Massachusetts and

Director of CCRD. Complaint, T 13; Complaint'

          2.      Plaintiff is the manager/dispatcher for CCRD. Complaint, fl 44.

          3   .   Plaintiff is an employee of ccRD. complainL nn 44, 59      and   6l   .




                                                     J
        4.        Defendant MART is a regional transportation authority established under G,L. c.

1618. Complaint,n 14.

        5.        Defendants Rebecca Badgley, Donna Landry, Bonnie Mahoney, Karen Cordio,

Joanne Norris, Stephanie Richards, Tamara Shumovskaya, Jessica Torres, Amanda Kukta,

Robert Monk, Michelle Moyo, Ivan Roman, and Crystal Geisert were at all times relevant to

Plaintiff   s Complained   MART employees. Complaint, TI 16-28.

        6.        CCRD began participating in MART's non-emergency program in April 2016 to

provide transpoftation to Commonwealth of Massachusetts Mass Health recipients. CCRD's

contract with MART to provide transportation services required the use of a vendor portal.

Complaint,nn44 and Exhibit       5.


        7.        Plaintiff had difhculty using the vendor portal and accused MART of not

providing him with proper training. Complaint, fl45 and Exhibit    8.


        8.        MART provided Plaintiff vendor portal training on March 18,2016 and provided

Plaintiff   a vendor   portal refresher training on May 16,2018. MART employees then followed

up with Plaintiff about concerns raised by him in an email dated }1.ay   17   ,2018. Plaintiff   was


again offered vendor portal training in October 2018. Complaint at Exhibits 8, 17 and 19.

        g.        Plaintiff complained about MART calling him on his cellular telephone and

requested that CCRD Inc. only be called on CCRD's 888 number. Complaint, tland            Exhibit      1.


            10.   MART notified all of its Mass Health vendors, which included CCRD, of          a


change in MART's call center hours of operation and that if the vendor's contract indicated they

were open during the time frame of the changed hours, MART may contact the vendor. In

addition, all vendors were notified that the automated vendor callout process would start at 6:00

a,m. Complaint, Exhibit 22.



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            11   .   On March 22,2017 , Plaintiff sent a letter of complaint addressed to the MART

"Title VI Civil Rights Officer". MART's Brokerage Director and the Director of the HST office

met with Plaintiff on April 5,2017 to discuss his concerns and MART sent Plaintiff a formal

response to his complaint on May              5,2017. complaint, at Exhibits 2 and      3.


            12.      Plaintiff filed   a   complaint with the Equal Employment Opportunity Commission

on or around September 1,2018. Complaint,                 T'11   120,151 and Exhibit 18't

            13.      Plaintiff filed   a Complaint against the       MART Defendants on or about May        10,


2019. Plaintiff subsequently filed his Amended Complaint on June 14, 2019.

ilI.        LEGAL ARGUMENT

            Plaintiff, as an employee of       a   MART vendor providing transportations services to MART

consumers who are Mass Health recipients, brings his Complaint alleging that the                  MART

Defendants discriminated against him in his employment, discriminated against him as a

recipient of federal funding, and violated the TCPA by using an automated call system to call his

cellular telephone in his capacity as the dispatcher for CCRD to schedule the transportation

services on behalf of CCRD for MART consumers who are Mass Health recipients. Plaintiff

alleges that the      MART Defendants by their actions intentionally caused him emotional distress'

As will be set forth in more detail below, all of Plaintiffls claims against all of the MART

Defendants must be dismissed.

       A.   Standard Motion to Dismiss

            Under the Federal Rule of Civil Procedure 12(bX6) standard, the Court must accept well-

pled allegations in the Complaint as true, but does not extend this tenet to legal conclusions. See



I plaintiff alleges that he received what is known as a "right to sue" letter from the EEOC and in his Complaint
references Exhibit l8 as that right to sue letter. What is contained in Exhibit 18 attached to the Amended Complaint
served on the MART Defendants is not a right to sue letter'


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Ashcroft v, Iqbal, 556 U.S. 662, 678 (2009). "Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice" to withstand a motion to

dismiss. Id. citing Bell Atlantic Corp. v. Twombly, 550 U,S. 544,555 (2007). "A pleadingthat

offers 'a formulaic recitation of the elements of a cause of action will not do' .. . Nor does a

complaint suffice if it tenders 'naked assertionfs]' devoid of 'further factual enhancement.' " Id.

quotinq Twombl)r, 550 U.S. at 555, 557. Rather, to survive a motion to dismiss, a complaint

must plead factual content sufficient to "allow[] the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2008);

Twombly, 550 U.S. at 556. While detailed factual allegations are not required, the facts must

"contain enough meat to support a reasonable expectation that an actionable claim may exist."

Andrew Robinson Intern.. Inc. v. Hartford Fire Ins. Co. , 547   F   .3d 48, 51 (1't Cir. 2008). There

must be "more than a sheer possibility that a defendant has acted unlawfully," as pleading rules

do not "unlock the doors of discovery for a plaintiff armed with nothing more than conclusions."

Ibid, 556 U.S, at 678-79; Twombl)¡ at 556.

        Here, despite his lengthy Complaint and voluminous exhibits, Plaintiff has failed to plead

facts suffrcient to overcome a motion to dismiss.

    B. Plaintiffs   Complaint Fails to State a Claim Under the Telephone Consumer Protection
        Act.47 U. s.c..   E 227


        In Counts I and II of his Complaint, Plaintiff alleges that the MART Defendants violated

the TCPA based on telephone calls MART made to his cell phone in his capacity as

dispatcher/manager for CCRD as part of the MART automated vendor callout process.

Complaint,ln2lg-232 andExhibit 22, MART            was not contacting Plaintiff using its automated

vendor callout process in Plaintiff s capacity as a "consumer," but rather as the contact for




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CCRD, a MART vendot, to schedule transportation services for MART consumers. Such

business related calls are not the type of calls that are protected by the TCPA,

       The TCPA was intended to combat, among other things, the proliferation of automated

telemarketing calls (known as "robocalls") to private residents. Fober v. Manaqement and

Technology Consultants. LLC, 886 F.3d 789 (2018). The protections of the TCPA are thus

extended to private residents, and not commercial entities.

       MART was not contacting Plaintiff     as a private resident, but rather as the dispatcher     for

CCRD, a MART vendor, to schedule transportation services that CCRD was to provide to

MART consumers. Telemarketing, solicitation or advertising and the like was not the purpose of

the calls being made to Plaintiff. Rather, Plaintiff admittedly is the dispatcher for his employer,

CCRD, and received the calls in his role as dispatcher as part of the MART automated vendor

callout process to schedule transportation services for Mass Health consumers. Complaint, flfl

2lg-232 and Exhibit.22. Where the calls were made to Plaintiff in his commercial capacity

pursuant to MART's contract with his employer, CCRD, those calls do not fall within the

protections afforded to private residents by the TCPA.

        Plaintiff objects to the timing and the number of calls, and the fact that the calls   are


received while he is driving. Plaintiff, of course, does not have to answer the calls. Plaintiff by

his actions is seeking to dictate the terms of CCRD's availability to receive calls to schedule

transportation for CCRD consumers, a service CCRD contracted with MART to provide'

Plaintiff now wants to prevent that communication. Plaintifls communications with MART,

including the telephone calls of which he complains, are commercial in nature and for the

purpose of providing services pursuant to an agreement CCRD has with MART' The fact that

Plaintiff provided MART with a different telephone number is irrelevant. The telephone calls



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being made to his cell phone        - the telephone number           he provided   -   are being made for the

purpose of offering services to CCRD and not to him as a consumer. Accordingly, the calls are

not those that the TCPA were meant to protect'

          Plaintiff, in his role   as the dispatcher   for CCRD, does not have standing to bring           a    claim

under the TCPA based on calls made through MART's automated vendor callout process to the

cell phone number provided by Plaintiff. Accordingly, Plaintiff s claims brought for the

violation of the TCPA contained in Counts I and II of his Complaint must be dismissed against

all of the MART Defendants.

       C. Plaintiffs   Claims Brousht                  to Title VII and      .L. c. 1518 Must Be l)ismissed
           B                      Not An
           Authority

           In Counts III, V, VI and VII of his Complaint, Plaintiff alleges that the MART

Defendants violated Title      vII   of the   civil Rights Act of 1964,42 U.S.C.            $ 2000e-3(a), by

retaliating against him, by creating a hostile work environment for him, and by discriminating

against him on the basis of his race, sex and national origin.2 Similarly, in Count                  VIII of his

Complaint, Plaintiff alleges that the MART Defendants interfered with protected rights and

retaliated against him for requesting a reasonable accommodation in violation of G.L' c' 1518.

$$ 4(4) and     4(4A). Plaintiff s claims brought pursuant to Title VII                and G.L. c. 1518 must be


dismissed because Plaintiff is not an employee of MART. Rather, Plaintiff by his own

admission is an employee of ccRD, a MART vendor. complaint, n 44, 59, 61.

           Title VII of the Civil Rights Act of 1964 prohibits employment discrimination based on

race, color, religion, sex and national        origin. The term "employee" is defined under Title VII               as


"an individual employed by an employer." 42 USC, $ 2000e, section 701(Ð' Plaintiff by his



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     Plaintifls Amended Complaint   does not contain a Count    IV

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own admission is simply not an employee of MART. See Complaint, $ 44 ("Plaintiff was and is

the manager/dispatcher at Commonwealth Community Recover Division Inc. (CCRD) who, as a

contractwithdefendantMART..."); Complaint,fl59("Defendants..'.onatleast40of

occasionsrefusedtopayplaintiffsemployer..."); Complaint,fl61 ("Defendants.'.haveeven

placed trips that were never even excepted . . . or completed by plaintiffls employer ' ' .");

Complaint,I   136   ("Plaintiff   s company does not receive an IRS       Form 1099, Plaintiff was

required to submit a statement stating who held the workers' compensation insurance . . .")

Because   Plaintiff is not an employee of MART or an independent contractor for MART, but

rather is admittedly a CCRD employee, he does not have standing to bring a claim for

employment discrimination under Title VII.

        In Counts III, V and VI of his Complaint, Plaintiff brings claims not only against MART,

but also against the individual MART Defendants for the violation of Title           VII.   Individuals

cannot be held liable under Title     VII   as   they are not employers. Even if Plaintiff had standing to

bring a claim under Title VII as an employee of MART, his claims against the individual MART

Defendants brought pursuant to Title        VII must still    be dismissed.

        As with Plaintiff s claims brought pursuant to Title VII, Plaintiffls claims brought

pursuant to the corresponding state statute, G.L. c. 1518, $         4, must   also be dismissed' While


G.L. c. 1518 makes it unlawful for an employer to refuse to hire, employ, discharge or

discriminate against an individual in the terms, conditions or privileges of the individuals

employment based on the individuals membership in a protected class, it is axiomatic that to

have standing to bring a claim under G.L. c. 1518, $ 4, an individual must have applied for

employment or been or currently be an employee of the employer. Otherwise, there would be no

claim for discrimination based on an employment practice of an employer. As set forth above,



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Plaintiff does not allege that he ever applied for and in fact he never was an employee of MART

Rather, by his own admission, at all relevant times Plaintiff was an employee of a MART

vendor, CCRD, As such, Plaintiff has no standing to bring a claim for the violation of Chapter

1   5   1   B for employment discrimination.

               Accordingly, Counts III, V, VI and VII of Plaintiff s Complaint against all of the MART

Defendants brought pursuant to Title             VII and 1518 must    be dismissed.

            D, Plaintiff   sC     nlaint Fails to State a Claim IInder Title VI

               In his Complaint, Plaintiff alleges that he was retaliated against in violation of Title VI of

the Civil Rights Act            of 1964,42 U.S.C,, $ 2000d, Plaintiff   does not set forth the basis for his

claim. Instead, Plaintiff simply recites excerpts from the Act. Plaintiff has not and cannot state a

claim for the violation of Title          VI. Title VI prohibits   discrimination in programs and activities

receiving federal financial assistance. The MART program for which Plaintiff s employer,

CCRD, was a vendor does not receive federal financial assistance. Even if federal funds were

involved, Plaintiff is not the intended beneficiary of the federal f,rnancial assistance and therefore

is not afforded the protection of           ritle vI' v/ard v' Massachusetts   Ba)¡ Transp' Authoritv' 550

F.Supp, 310 (D. Mass 1982). If Plaintiff meant his Title VI claim to be akin to a claim of

employment discrimination he still is not afforded the protections of Title VI. Putting aside the

fact that Plaintiff is not a MART employee, private claims for employment discrimination under

Title VI cannot be maintained unless a primary objective of the federally funded program

involved is to provide employment. Here, the primary objective of any MART program

receiving federal funding is not to provide employment, but to provide transportation setvices,

the purpose for which MART was established under G.L. c. 1618, Accordingly, Plaintiff is not

afforded the protection of Title VI and his claim brought thereunder must be dismissed.



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   E, Plaintiff Fails To S            a Claim For the Intentional   Infliction o f Emotional Distress

          Finally, in an unnumbered Count, Plaintiff brings a claim for the intentional infliction of

emotional distress against the individual MART Defendants and MART. Plaintiff s claims for

the intentional infliction of emotional distress against MART must be dismissed. MART is a

"public employer"       as that   term is def,rned by the Massachusetts Tort Claims Act, G.L. c, 258,   $


1. Claims against a public employer for intentional torts, including claims for the intentional

infliction of mental distress, are barred by the Massachusetts Tort Claims Act, G.L. c.258,

$10(c). Parker   v.                                                                              ,67

Mass.App. Ct.    17   4 (2006). Therefore, such claims against MART by Plaintiff are statutorily

barred,

          V/hile claims for the intentional infliction of emotion distress may be brought against

public employees in their individual capacity, the bar for bringing such claims is high. To

sustain a claim for the intentional infliction of emotional distress against an individual public

employee in their individual capacity, Plaintiff must show that (1) defendant intended to inflict

emotional distress or that defendant knew or should have known that emotional distress was

likely to cause emotional distress; (2)that defendant's conducted was extreme and outrageous

and was beyond all possible bounds of decency and was utterly intolerable in a civilized

community; (3) that actions of the defendant was the cause of Plaintiff s distress, and (4) that the

emotional distress sustained by Plaintiff was severe and of a nature that no reasonable man could

be expected to endure. See Id,, at 180, quoting Agis v. Howard Johnson Co., 371 Mass . 140,

144-45 (1976); see also, Sena v. Commonwealth, 417 Mass.250 (1994), citing Agis, supra;

Folev v, Polaroid Corp., 400 Mass.82,99 (1987).




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       Here Plaintiff does not allege facts sufficient to state a claim for the intentional infliction

of emotional distress against the individual MART Defendants       as the acts the   individuals are

alleged to have taken regarding alleged mistakes made with the vendor portal, alleged failure to

adequately train Plaintiff in the use of the vendor portal, calls made to Plaintiff s cell phone, and

other allegations regarding the scheduling of trips and the imposition of fines on Plaintiff     s



employer CCRD, do not remotely rise to the level of outrageous conduct beyond the bounds of

decency required for Plaintiff to state a claim for the intentional infliction of emotional distress

against any of the individual MART Defendants. Rather, what is evident from the voluminous

exhibits attached to and incorporated into Plaintiffls Complaint is that the individual MART

Defendants were acting within the scope of their employment attempting to assist Plaintiff in his

use of the vendor portal and providing him with opportunities given to other vendors to accept

trips. While mistakes may    have been made along the way with the vendor portal, such mistakes

are not outside of the bounds of human decency and are not the type of conduct sufficient to set

forth a claim for the intentional infliction of emotional distress. Accordingly, Plaintiff s claim for

the intentional infliction of emotional distress must be dismissed against all of the individual

MART Defendants.

IV.     CONCLUSION

        For all of the reasons set forth above, all of Plaintiffls claims against all of the MART

Defendants must be dismissed and judgment entered in favor of the MART Defendants on a

claims brought against them.




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                                                     DEFENDANTS

                                                     MONTACHUSETT REGIONAL TRANSIT
                                                     AUTHORITY, REBECCA BADGLEY,
                                                     DONNA LANDRY, BONNIE MAHONEY,
                                                     KAREN CORDIO, JOANNE, NORRIS,
                                                     STEPHANIE RICHARDS, TAMARA
                                                     SHUMOVSKAYA, JESSICA TORRES,
                                                     AMANDA KUKTA, ROBERT MONK,
                                                     MICHELLE MOYO, IVAN ROMAN, and
                                                     CRYSTAL GEISERT,

                                                     By their attorneys,

                                                     /</    ¡>phn,rnlr'   I          Va   p,r

                                                     Mark R. Reich (BBO# 553212)
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                                  CERTIFI         OF SERVICE

        I, Deborah I. Ecker certify that the above document will be served by hrst-class mail

upon any party or counsel of record who is not a registered participant of the Court's ECF

system, upon notification by the Court of those individuals who     will not be served electronically


Date: August 5,2019                                  /s./   >e.b vnlr,        I   Et',þ p.r



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